    Case 2:10-md-02179-CJB-DPC Document 21557 Filed 08/23/16 Page 1 of 3




                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF LOUISIANA

In re: Oil Spill by the Oil Rig               *              MDL No. 2179
        “Deepwater Horizon in the Gulf        *
        Of Mexico, on April 20, 2010          *              SECTION “J”
                                              *
This Document Relates To:                     *              JUDGE BARBIER
                                              *
No. 2:13-cv-01386                             *              MAG. JUDGE WILKINSON

   MOTION AND ORDER FOR MODIFICATION OF CONFIDENTIALITY ORDER

       NOW INTO COURT, through undersigned Counsel, comes Eugene I. Davis, as Trustee

of the Seahawk Liquidating Trust, the duly authorized successor to Seahawk Drilling, Inc., et al,

who moves this Honorable Court to enter an Order modifying the terms of the Confidentiality

Order, Doc. Id. 15718 [Sealed], all for the reasons set forth below.

       On January 13, 2016 this Court entered a Confidentiality Order [Concerning Settlement

Documents and Discussions] (the “Confidentiality Order”) [Doc. Id. 15718] that was later

ordered to be Sealed. All recipients of the Confidentiality Order were to “treat as strictly

confidential all documentation, draft or otherwise, of all term sheets, release agreements, or other

settlement related documentation, and all communications regarding resolution of claims or

lawsuits related to this multi-district litigation (including both the fact and substance of any

discussions and any document prepared in connection therewith.)” Under the Confidentiality

Order, “[a]ny person who has been shown any such documents and/or included in

communications shall be bound to keep such information as private and disclosed to no one

unless specifically permitted in advance by the undersigned.”

       Eugene Davis, the liquidating trustee under the confirmed plan of liquidation for Plaintiff,

the Seahawk Liquidating Trust (the “Trustee”) is in a unique position as compared to other
    Case 2:10-md-02179-CJB-DPC Document 21557 Filed 08/23/16 Page 2 of 3




recipients of the Confidentiality Order. While other private litigants are free to settle without

bankruptcy court notice, the Trustee must file pleadings in the bankruptcy court reflecting any

settlement of claims or lawsuits related to this multi-district litigation – included the claims

asserted in Civil Action No. 13-1386. To seek closure of the bankruptcy case, the Trustee will be

required to disclose the settlement and possibly the settlement document itself, as well as

information about the agreement and the settlement process. Relief from the Confidentiality

Order is therefore necessary to effectuate a settlement.

       Accordingly, Eugene I. Davis, as Trustee of the Seahawk Liquidating Trust, the duly

authorized successor to Seahawk Drilling, Inc., et al., prays for the following:

       1. The Trustee may disclose documentation, communications, and information governed

           by the Confidentiality Order (hereinafter, the “Confidential Information”) for the

           following purposes:

               a. Disclosures, reporting and motions in the United States Bankruptcy Court for

                   the Southern District of Texas (the “Bankruptcy Court”) of settlement of

                   claims related to this lawsuit; and

               b. Complying with any obligations in or requirements of the Bankruptcy Court.

       The Trustee shall not disclose Confidential Information for any other purpose without

obtaining the advance permission of the undersigned.

                                                         Respectfully Submitted:

                                                         WILLIAMS LAW GROUP LLC

                                                         /s/ Conrad S.P. Williams, III
                                                         Conrad S.P. Williams, III (#14499)
                                                         Meredith R. Durham (#33112)
                                                         909 Poydras Street, Ste. 1625
                                                         New Orleans, LA 70112
                                                         Telephone: 985-876-7595

                                                 2
    Case 2:10-md-02179-CJB-DPC Document 21557 Filed 08/23/16 Page 3 of 3




                                                   Fax: 504-200-0001
                                                   Email: Duke@Williamslawgroup.org
                                                   Email: Meredith@Williamslawgroup.org


                                                             -and-

                                                   REID COLLINS & TSAI LLP

                                                   /s/ Eric D. Madden_________
                                                   Thanksgiving Tower
                                                   1601 Elm Street, Ste. 4250
                                                   Dallas, TX 75201
                                                   Telephone: 214-420-8900
                                                   Fax: 214-420-8909


                               CERTIFICATE OF SERVICE

       WE HEREBY CERTIFY that the above and foregoing document has been served on All

Counsel by filing with the Court’s CM/ECF system and by electronically uploading the same to

Lexis Nexis File & Serve on this 23rd day of August, 2016.



                                           /s/ Conrad S.P. Williams, III
                                           Conrad S.P. Williams, III




                                              3
